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                IN THE UNITED STATES DISTRICT COURT
              FOR THE EASTERN DISTRICT OF PENNSYLVANIA

GENTEX CORPORATION                     :             CIVIL ACTION
                                       :
            v.                         :
                                       :
SUPERIOR MOLD COMPANY                  :             NO. 20-632


                                    ORDER

           AND NOW, this     28th    day of September, 2020, for the

reasons stated in the foregoing Memorandum, it is hereby ordered

that:

    (1)    the motion of Superior Mold Company to dismiss the

           claim of Gentex Corporation for breach of contract is

           DENIED; and

    (2)    the motion of Superior Mold Company to dismiss the

           claims of Gentex Corporation for fraud, negligent

           misrepresentation, and negligence is GRANTED; and

    (3)    the alternative motion of Superior Mold Company for a

           more definite statement is DENIED.

                                              BY THE COURT:



                                              /s/ Harvey Bartle III
                                                                  J.
